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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 07-cr-252-01,02-JD

Eduardo K. Fernandez-Avalos, et al


                                  O R D E R


      The   joint    assented    to   motion   to   reschedule      jury      trial

(document no. 22) filed by defendant Maria C. Rosario is granted.

      Defendants shall file a waiver of speedy trial rights within

10 days.      The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendants in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv),

for the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    February 27, 2008




cc:   Martin Leppo, Esq.
      Paul Twomey, Esq.
      Steven M. Gordon, Esq.
      Mark Irish, Esq.
      U.S. Marshal
      U.S. Probation
